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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

IN RE: APPLICATION OF                        )
FORBES MEDIA LLC                             )       MISC. NO. 21-52
AND THOMAS BREWSTER                          )
TO UNSEAL RECORDS                            )

                          GOVERNMENT'S MOTION FOR
                    ENLARGEMENT OF TIME TO FILE A RESPONSE

       The United States of America, by its attorneys, Scott W. Brady, United States Attorney for

the Western District of Pennsylvania, and Shardul S. Desai, Assistant United States Attorney in

and for said District, files the following Motion for Enlargement of Time to File a Response. In

support thereof, the United States avers the following:

               1.     On January 25, 2021, Forbes Media LLC and Thomas Brewster filed an

application to unseal records. This Court ordered that the Government would have 14 days to

respond to this application. As such, the Government’s response is due on February 8, 2021.

               2.     The United States needs additional time to respond in this case. The

applicants do not oppose a continuance until February 16, 2021.

               3.     Therefore, the United States respectfully requests an extension to file its

response on or before February 16, 2021.

               WHEREFORE, the United States respectfully requests that this Honorable Court

grant a short extension for the government to file its Response.

                                                     Respectfully submitted,

                                                     SCOTT W. BRADY
                                                     United States Attorney

                                             By: s/ Shardul S. Desai
                                                   SHARDUL S. DESAI
                                                   Assistant U.S. Attorney
                                                   DC ID No. 990299
